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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-CR-14005-CANNON(HUCK)

      UNITED STATES OF AMERICA,

           vs.

      ZACHARY S. SPIEGEL,

              Defendant.
                                                  /

           ORDER ON MOTION FOR POST-VERDICT JUDGMENT OF ACQUITTAL
              THIS MATTER is before the Court upon Defendant Zachary S. Spiegel’s Motion for

      Post-Verdict Judgment of Acquittal [ECF No. 56], filed April 8, 2022. The United States filed

      its Response in Opposition [ECF No. 57] on April 22, 2022. The Court held a telephonic

      hearing on the Motion on May 11, 2022. See [ECF No. 61]. 1 The Court has carefully

      considered the parties’ briefing, their arguments at the hearing, the record, and applicable law.

      For the reasons set forth below, the Court DENIES the Motion.

                                                 BACKGROUND

              Spiegel was charged with two counts of attempting to induce, entice, or persuade a

      minor to engage in unlawful sexual activity, in violation of 18 U.S.C. § 2422(b). See [ECF No.

      13]. On March 29, 2022, a jury found Spiegel guilty as to Count One, but not guilty as to

      Count Two. See [ECF No. 47]. The Court entered a Judgment of Acquittal as to Count Two

      [ECF No. 52] on March 30, 2022. Pursuant to Fed. R. Crim. P. 29(c), Spiegel now moves for a

      Post-Verdict Judgement of Acquittal as to Count One. See generally Mot.




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      The Court adopts its analysis as stated at the hearing, and incorporates that analysis as part of this Order.
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                                              ANALYSIS

          At the outset, the Court notes that in analyzing a motion for post-verdict acquittal, the

   Court must “resolv[e] all reasonable inferences in favor of the verdict” and “cannot disturb the

   verdict ‘unless no trier of fact could have found guilt beyond a reasonable doubt.’” United

   States v. Yost, 479 F.3d 815, 818–19 (11th Cir. 2007) (quoting United States v. Lyons, 53 F.3d

   1198, 1202 (11th Cir. 1995)). To support a conviction under section 2422(b), the Government

   must have proved (i) that Spiegel acted with the specific intent to persuade or induce a minor to

   engage in unlawful sex and (ii) that Spiegel took some substantial step toward the commission

   of the crime. Yost, 479 F.3d at 819; see also United States v. Murrell, 368 F.3d 1283, 1286

   (11th Cir. 2004). Significantly, the “underlying proscribed criminal conduct” in section

   2422(b) is the “persuasion, inducement, enticement, or coercion of the minor rather than the sex

   act itself.” Yost, 479 F.3d at 819 n.3. Thus, the Government need not prove that Spiegel acted

   with specific intent to engage in sexual activity. See id. (citing Murrell, 368 F.3d at 1286).

          Spiegel first argues that he lacked the specific intent to induce a minor because he did

   not learn the minor’s age until he had already asked about sex, and after finding out, Spiegel

   indicated that it “could be a problem.” See Mot. at 5. Spiegel focuses too closely on the

   minor’s age, however. As the court in Murrell made clear, the Government must show that

   Spiegel acted with specific intent only as to inducing the minor to engage in unlawful sex. 368

   F.3d at 1286. Hence, it is the inducement of a minor, rather than the sex act itself, that is the

   underlying criminal conduct. See id. Said another way, the specific-intent requirement focuses

   only on the intent to induce the minor to commit a sexual act, not the intent of the defendant to

   actually commit the sexual act.

          Moreover, Spiegel’s argument is not supported by the record. After discovering the

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   minor’s age, Spiegel did not cease communications—rather, he sent sexually explicit

   messages, a photograph of his penis, and repeatedly asked the minor to send him more photos.

   Further, Spiegel made specific arrangements to pick the minor up at the theater to engage in

   sexual relations. Thus, although Spiegel did not physically engage with a minor, his conduct

   falls precisely within the meaning of attempted “inducement” as interpreted by the Eleventh

   Circuit. See id. at 1287 (defining “induce” as “to stimulate” or “cause” a minor to engage in

   sexual activity). Accordingly, there was sufficient evidence for a reasonable jury to find that

   Spiegel specifically intended to induce a minor to engage in prohibited sexual activity.

          Spiegel second argues that because he did not physically travel to the theater to pick up

   the minor, he did not commit a substantial step in furtherance of the crime. See Mot. at 8.

   However, this argument lacks merit because not only is travel to meet with the minor

   unnecessary to support a conviction under section 2422(b), but the content of Spiegel’s

   messages is nearly identical to cases where the Eleventh Circuit has held that the contents of a

   defendant’s messages constituted a substantial step toward the sexual inducement of a minor.

         While travel is not required, the defendant’s actions must have crossed the line from

  “mere talk” to inducement. See, e.g., Yost, 479 F.3d at 820 (affirming the defendant’s conviction

  because he chatted online with a 13-year-old girl, called her on the phone, made arrangements to

  meet her, and posted pictures of his genitalia online); United States v. Lee, 603 F.3d 904, 917

  (11th Cir. 2010) (finding a substantial step was taken when the defendant sent graphic

  photographs to the girls, explicitly discussed how he would complete the sexual acts, and

  requested assistance from their mother). Likewise, in the present case, the content of Spiegel’s

  messages unambiguously crosses the line from “mere talk” to inducement. After conveying

  graphic messages describing the sexual acts that he would perform on the minor, Spiegel sent a

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  photograph of his penis. And Spiegel’s conduct did not end there. He repeatedly requested photos

  of the minor, asked for her phone number, and made specific arrangements to pick her up at the

  theater that night. “[Spiegel] crossed the line from harmless banter to inducement the moment he

  began making arrangements to meet the minor, notwithstanding the lack of evidence that he

  traveled to the supposed meeting place.” Yost, 479 F.3d at 820 (quoting United States v.

  Thomas, 410 F.3d 1235, 1246 (10th Cir. 2005)) (quotation and alteration omitted). At bottom,

  given the “totality of [Spiegel’s] actions,” see Yost, 479 F.3d at 820, a reasonable jury could

  have found—and did in fact find—that Spiegel took a substantial step toward inducing or

  persuading a minor to engage in prohibited sexual activity.

                                          CONCLUSION

          There was sufficient evidence for a reasonable jury to convict Spiegel of Count One

   under 18 U.S.C. § 2422(b). Therefore, it is hereby ORDERED and ADJUDGED that the

   Motion [ECF No. 56] is DENIED.

          DONE and ORDERED in Ft. Pierce, Florida, on June 13, 2022.




                                               PAUL C. HUCK
                                               UNITED STATES DISTRICT JUDGE



   Copies furnished to:
   The Honorable Aileen M. Cannon
   Counsel of Record




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